Case 2:20-cv-02193-DWL--CDB Document 1 Filed 11/13/20 Page 1 of 6


                                                   FILED            LODGED


                                                 Nov 13 2020
                                                   CLERK U.S. DISTRICT COURT
                                                      DISTRICT OF ARIZONA




                                             CV-20-2193-PHX-DWL (CDB)
Case 2:20-cv-02193-DWL--CDB Document 1 Filed 11/13/20 Page 2 of 6
Case 2:20-cv-02193-DWL--CDB Document 1 Filed 11/13/20 Page 3 of 6
Case 2:20-cv-02193-DWL--CDB Document 1 Filed 11/13/20 Page 4 of 6
Case 2:20-cv-02193-DWL--CDB Document 1 Filed 11/13/20 Page 5 of 6
Case 2:20-cv-02193-DWL--CDB Document 1 Filed 11/13/20 Page 6 of 6
